         Case 2:16-cv-02353-GMN-EJY Document 170 Filed 09/29/18 Page 1 of 28



1                              UNITED STATES DISTRICT COURT
2                                      DISTRICT OF NEVADA
3
     R. ALEXANDER ACOSTA, Secretary of )
4
     Labor, United States Department of Labor,
                                       )
5
                                       )                      Case No.: 2:16-cv-02353-GMN-GWF
                  Plaintiff,           )
6         vs.                          )                                 ORDER
                                       )
7    WELLFLEET COMMUNICATIONS, LLC, et )
     al.,                              )
8
                                       )
9                 Defendants.          )

10         Pending before the Court is the Motion for Summary Judgment, (ECF No. 150), filed by
11   Plaintiff Secretary of Labor, R. Alexander Acosta (“Plaintiff”). Defendants Wellfleet
12   Communications, LLC (“Wellfleet”) and Allen Roach filed a Response, (ECF No. 158).
13   Defendants Lighthouse Communications, LLC (“Lighthouse”), New Choice Communications,
14   Inc. (“New Choice”), and Ryan Roach also filed a Response, (ECF No. 160). To both of those
15   Responses, Plaintiff filed one Reply, (ECF No. 163).
16         Also pending before the Court is the Motion to Dismiss or Alternatively for Summary
17   Judgment, (ECF No. 64), filed by Defendants Allen Roach and Wellfleet. Plaintiff filed a
18   Response, (ECF No. 74), and Allen Roach and Wellfleet filed a Reply, (ECF No. 80).
19         Also pending before the Court is Allen Roach and Wellfleet’s Motion for Summary
20   Judgment, (ECF No. 148). Plaintiff filed a Response, (ECF No. 159), and Allen Roach and
21   Wellfleet filed a Reply, (ECF No. 162).
22         Also pending before the Court is the Motion to Dismiss, (ECF No. 71), filed by
23   Lighthouse Communications, New Choice, and Ryan Roach. Plaintiff filed a Response, (ECF
24   No. 81), and Lighthouse, New Choice, and Ryan Roach filed a Reply, (ECF No. 87).
25




                                               Page 1 of 28
          Case 2:16-cv-02353-GMN-EJY Document 170 Filed 09/29/18 Page 2 of 28



1           Also pending before the Court is the Motion for Summary Judgment, (ECF No. 149),
2    filed by Lighthouse, New Choice, and Ryan Roach. Plaintiff filed a Response, (ECF No. 159),
3    and Lighthouse, New Choice, and Ryan Roach filed a Reply, (ECF No. 165).
4           For the reasons discussed below, the Court GRANTS in part and DENIES in part
5    Plaintiff’s Motion for Summary Judgment, (ECF No. 150); DENIES the Motion to Dismiss or
6    Alternatively for Summary Judgment, (ECF No. 64), filed by Wellfleet and Allen Roach;
7    DENIES the Motion to Dismiss, (ECF No. 71), filed by Lighthouse, New Choice, and Ryan
8    Roach; DENIES the Motion for Summary Judgment, (ECF No. 148), filed by Wellfleet and
9    Allen Roach; and DENIES the Motion for Summary Judgment, (ECF No. 149), filed by
10   Lighthouse, New Choice, and Ryan Roach.
11   I.     BACKGROUND
12          This case involves alleged violations of the Fair Labor Standards Act of 1938, 29 U.S.C.
13   § 201, et seq. (“FLSA”) by Wellfleet, New Choice, Lighthouse, Allen Roach, and Ryan Roach
14   (collectively “Defendants”). Defendants either currently operate or operated call center
15   businesses in Las Vegas, Nevada; and Plaintiff, as the Secretary of Labor, represents over one-
16   thousand current and previous workers employed by Defendants. (Am. Compl. 2:3–15, ECF
17   No. 44); (see Ex. A to Am. Compl., ECF No. 44-1) (listing the workers that Plaintiff currently
18   represents in the lawsuit). Plaintiff alleges that Defendants violated several provisions of the
19   FLSA by failing to keep employment records and failing to pay their employees minimum
20   wage and overtime. (Am. Compl. ¶¶ 31–37).
21          Plaintiff’s investigation into Defendants began in October 2015 with Wellfleet and its
22   general manager, Allen Roach. (Id. ¶ 4); (see Decl. Allen Roach ¶ 1, Ex. N to Resp., ECF No.
23   74-8). Through this investigation, Plaintiff discovered that each worker employed by Wellfleet
24   and Allen Roach “functioned solely as sellers and were paid solely for their sales.” (Decl. Allen
25   Roach ¶ 3, Ex. N to Resp., ECF No. 74-8) (“[Wellfleet] paid . . . for their sales, never for their


                                                Page 2 of 28
         Case 2:16-cv-02353-GMN-EJY Document 170 Filed 09/29/18 Page 3 of 28



1    time.”). Further, Wellfleet and Allen Roach “kept no time records” for its employees, and
2    instead compensated the employees solely based on commission earned from sales. (Id.).
3    Because of this scheme, Plaintiff filed its initial Complaint alleging violations of the FLSA by
4    paying employees less than the federal minimum wage, making illegal deductions from
5    employees’ Social Security and Medicare contributions, failing to pay employees for hours
6    worked over forty in a workweek, failing to maintain time records of employees, and
7    interfering with Plaintiff’s investigation. (Compl. ¶¶ 17–22, ECF No. 1). Plaintiff’s Complaint
8    sought relief from the Court in the form of: (1) permanently enjoining and restraining Wellfleet
9    from “prospectively violating . . . the FLSA;” (2) finding Wellfleet and Allen Roach liable for
10   “unpaid minimum wage and overtime compensation due under the FLSA to present and former
11   employees;” (3) enjoining Wellfleet and Allen Roach from withholding payment of unpaid
12   wages owed to employees; and (4) awarding costs to Plaintiff resulting from the lawsuit. (Id. at
13   8–9).
14           During Plaintiff’s investigation, Plaintiff also learned of call center businesses that Allen
15   Roach’s nephew, Ryan Roach, operated alongside Wellfleet and Allen Roach. (See Dep. Tr.
16   Allen Roach at 3, Ex. A to Am. Compl., ECF No. 74-5). Plaintiff discovered that Ryan Roach
17   acted as the owner of New Choice, which sold telephone lines to residential customers from
18   2010 to March 2016 through the work of Wellfleet’s call center workers. (Id. at 3, 8). In March
19   2016, New Choice took over the operations of Wellfleet. (Am. Compl. ¶¶ 6–8). Ryan Roach
20   also established Lighthouse in 2010 to sell phone services, which served as another call center
21   among New Choice and Wellfleet as well as a “depository for the funds” from Wellfleet. (Dep.
22   Tr. Allen Roach at 20, Ex. A to Am. Compl.). Lighthouse’s business ended in October 2015.
23   (Am. Compl. ¶ 14).
24           On September 18, 2017, Plaintiff filed an Amended Complaint, (ECF No. 44), that
25   added New Choice, Lighthouse, and Ryan Roach as Defendants. Plaintiff’s theory is that all


                                                  Page 3 of 28
           Case 2:16-cv-02353-GMN-EJY Document 170 Filed 09/29/18 Page 4 of 28



1    the call centers ran by Allen and Ryan Roach consisted of one business. (MSJ 8:22–9:2, ECF
2    No. 150) (stating that the “Roaches operated the call center through the Wellfleet, Lighthouse,
3    and New Choice [] shell companies, and managed all the entities as one ‘family-run
4    business.’”). The Amended Complaint alleged the same violations of the FLSA by New
5    Choice, Lighthouse, and Ryan Roach as those against Wellfleet and Allen Roach in Plaintiff’s
6    Initial Complaint.
7    II.    LEGAL STANDARD
8              A. Motion to Dismiss
9           Federal Rule of Civil Procedure 12(b)(6) mandates that a court dismiss a cause of action
10   that fails to state a claim upon which relief can be granted. See N. Star Int’l v. Ariz. Corp.
11   Comm’n, 720 F.2d 578, 581 (9th Cir. 1983). When considering a motion to dismiss under Rule
12   12(b)(6) for failure to state a claim, dismissal is appropriate only when the complaint does not
13   give the defendant fair notice of a legally cognizable claim and the grounds on which it rests.
14   See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). In considering whether the
15   complaint is sufficient to state a claim, the Court will take all material allegations as true and
16   construe them in the light most favorable to the plaintiff. See NL Indus., Inc. v. Kaplan, 792
17   F.2d 896, 898 (9th Cir. 1986).
18          The Court, however, is not required to accept as true allegations that are merely
19   conclusory, unwarranted deductions of fact, or unreasonable inferences. See Sprewell v. Golden
20   State Warriors, 266 F.3d 979, 988 (9th Cir. 2001). A formulaic recitation of a cause of action
21   with conclusory allegations is not sufficient; a plaintiff must plead facts showing that a
22   violation is plausible, not just possible. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing
23   Twombly, 550 U.S. at 555).
24          A court may also dismiss a complaint pursuant to Federal Rule of Civil Procedure 41(b)
25   for failure to comply with Federal Rule of Civil Procedure 8(a). Hearns v. San Bernardino


                                                 Page 4 of 28
          Case 2:16-cv-02353-GMN-EJY Document 170 Filed 09/29/18 Page 5 of 28



1    Police Dept., 530 F.3d 1124, 1129 (9th Cir.2008). Rule 8(a)(2) requires that a plaintiff's
2    complaint contain only “a short and plain statement of the claim showing that the pleader is
3    entitled to relief.” Fed. R. Civ. P. 8(a)(2).
4           “Generally, a district court may not consider any material beyond the pleadings in ruling
5    on a Rule 12(b)(6) motion . . . . However, material which is properly submitted as part of the
6    complaint may be considered on a motion to dismiss.” Hal Roach Studios, Inc. v. Richard
7    Feiner & Co., 896 F.2d 1542, 1555 n.19 (9th Cir. 1990) (citations omitted). Similarly,
8    “documents whose contents are alleged in a complaint and whose authenticity no party
9    questions, but which are not physically attached to the pleading, may be considered in ruling on
10   a Rule 12(b)(6) motion to dismiss” without converting the motion to dismiss into a motion for
11   summary judgment. Branch v. Tunnell, 14 F.3d 449, 454 (9th Cir. 1994). Under Federal Rule
12   of Evidence 201, a court may take judicial notice of “matters of public record.” Mack v. S. Bay
13   Beer Distrib., 798 F.2d 1279, 1282 (9th Cir. 1986). Otherwise, if the district court considers
14   materials outside of the pleadings, the motion to dismiss is converted into a motion for
15   summary judgment. See Arpin v. Santa Clara Valley Transp. Agency, 261 F.3d 912, 925 (9th
16   Cir. 2001).
17          If the court grants a motion to dismiss, it must then decide whether to grant leave to
18   amend. The court should “freely give” leave to amend when there is no “undue delay, bad
19   faith[,] dilatory motive on the part of the movant . . . undue prejudice to the opposing party by
20   virtue of . . . the amendment, [or] futility of the amendment . . . .” Fed. R. Civ. P. 15(a); Foman
21   v. Davis, 371 U.S. 178, 182 (1962). Generally, leave to amend is only denied when it is clear
22   that the deficiencies of the complaint cannot be cured by amendment. See DeSoto v. Yellow
23   Freight Sys., Inc., 957 F.2d 655, 658 (9th Cir. 1992).
24

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                                                     Page 5 of 28
          Case 2:16-cv-02353-GMN-EJY Document 170 Filed 09/29/18 Page 6 of 28



1              B. Motion for Summary Judgment
2           The Federal Rules of Civil Procedure provide for summary adjudication when the
3    pleadings, depositions, answers to interrogatories, and admissions on file, together with the
4    affidavits, if any, show that “there is no genuine dispute as to any material fact and the movant
5    is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). Material facts are those that
6    may affect the outcome of the case. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248
7    (1986). A dispute as to a material fact is genuine if there is a sufficient evidentiary basis on
8    which a reasonable fact-finder could rely to find for the nonmoving party. See id. “The amount
9    of evidence necessary to raise a genuine issue of material fact is enough ‘to require a jury or
10   judge to resolve the parties' differing versions of the truth at trial.’” Aydin Corp. v. Loral
11   Corp., 718 F.2d 897, 902 (9th Cir. 1983) (quoting First Nat’l Bank v. Cities Serv. Co., 391 U.S.
12   253, 288–89 (1968)). “Summary judgment is inappropriate if reasonable jurors, drawing all
13   inferences in favor of the nonmoving party, could return a verdict in the nonmoving party’s
14   favor.” Diaz v. Eagle Produce Ltd. P’ship, 521 F.3d 1201, 1207 (9th Cir. 2008) (citing United
15   States v. Shumway, 199 F.3d 1093, 1103–04 (9th Cir. 1999)). A principal purpose of summary
16   judgment is “to isolate and dispose of factually unsupported claims.” Celotex Corp. v. Catrett,
17   477 U.S. 317, 323–24 (1986).
18          In determining summary judgment, a court applies a burden-shifting analysis. “When
19   the party moving for summary judgment would bear the burden of proof at trial, it must come
20   forward with evidence which would entitle it to a directed verdict if the evidence went
21   uncontroverted at trial. In such a case, the moving party has the initial burden of establishing
22   the absence of a genuine issue of fact on each issue material to its case.” C.A.R. Transp.
23   Brokerage Co. v. Darden Rests., Inc., 213 F.3d 474, 480 (9th Cir. 2000) (citations omitted). In
24   contrast, when the nonmoving party bears the burden of proving the claim or defense, the
25   moving party can meet its burden in two ways: (1) by presenting evidence to negate an


                                                 Page 6 of 28
          Case 2:16-cv-02353-GMN-EJY Document 170 Filed 09/29/18 Page 7 of 28



1    essential element of the nonmoving party’s case; or (2) by demonstrating that the nonmoving
2    party failed to make a showing sufficient to establish an element essential to that party’s case
3    on which that party will bear the burden of proof at trial. See Celotex Corp., 477 U.S. at 323–
4    24. If the moving party fails to meet its initial burden, summary judgment must be denied and
5    the court need not consider the nonmoving party’s evidence. See Adickes v. S.H. Kress & Co.,
6    398 U.S. 144, 159–60 (1970).
7           If the moving party satisfies its initial burden, the burden then shifts to the opposing
8    party to establish that a genuine issue of material fact exists. See Matsushita Elec. Indus. Co. v.
9    Zenith Radio Corp., 475 U.S. 574, 586 (1986). To establish the existence of a factual dispute,
10   the opposing party need not establish a material issue of fact conclusively in its favor. It is
11   sufficient that “the claimed factual dispute be shown to require a jury or judge to resolve the
12   parties’ differing versions of the truth at trial.” T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors
13   Ass’n, 809 F.2d 626, 631 (9th Cir. 1987). However, the nonmoving party “may not rely on
14   denials in the pleadings but must produce specific evidence, through affidavits or admissible
15   discovery material, to show that the dispute exists,” Bhan v. NME Hosps., Inc., 929 F.2d 1404,
16   1409 (9th Cir. 1991), and “must do more than simply show that there is some metaphysical
17   doubt as to the material facts.” Orr v. Bank of America, 285 F.3d 764, 783 (9th Cir. 2002)
18   (internal citations omitted). “The mere existence of a scintilla of evidence in support of the
19   plaintiff's position will be insufficient.” Anderson, 477 U.S. at 252. In other words, the
20   nonmoving party cannot avoid summary judgment by relying solely on conclusory allegations
21   that are unsupported by factual data. See Taylor v. List, 880 F.2d 1040, 1045 (9th Cir. 1989).
22   Instead, the opposition must go beyond the assertions and allegations of the pleadings and set
23   forth specific facts by producing competent evidence that shows a genuine issue for trial. See
24   Celotex Corp., 477 U.S. at 324.
25




                                                 Page 7 of 28
            Case 2:16-cv-02353-GMN-EJY Document 170 Filed 09/29/18 Page 8 of 28



1            At summary judgment, a court’s function is not to weigh the evidence and determine the
2    truth but to determine whether there is a genuine issue for trial. See Anderson, 477 U.S. at 249.
3    The evidence of the nonmovant is “to be believed, and all justifiable inferences are to be drawn
4    in his favor.” Id. at 255. But if the evidence of the nonmoving party is merely colorable or is
5    not significantly probative, summary judgment may be granted. See id. at 249–50.
6    III.    DISCUSSION
7            The parties in this case have filed either motions to dismiss or motions for summary
8    judgment regarding Plaintiff’s Amended Complaint, (ECF No. 44). Upon review, these
9    motions largely overlap in issues discussed. The Court therefore analyzes the overlapping
10   arguments in conjunction with one another. Any arguments unique to a motion are addressed
11   separately. The Court first addresses the Motion to Dismiss, (ECF No. 71), filed by New
12   Choice, Lighthouse, and Ryan Roach, followed by the issues raised in the motions for summary
13   judgment.
14               A. Motion to Dismiss filed by New Choice, Lighthouse, and Ryan Roach
15           New Choice, Lighthouse, and Ryan Roach move to dismiss Plaintiff’s Amended
16   Complaint, (ECF No. 44), to the extent that Plaintiff seeks relief for damages that occurred
17   more than two years before Plaintiff filed its Amended Complaint. Specifically, they argue that
18   a two-year statute of limitations applies to Plaintiff’s claims, rather than the three-year
19   limitations period claimed by Plaintiff. (Mot. Dismiss (“MTD”) 4:17–6:2, 7:3–8, ECF No. 71).
20   Additionally, they argue that Plaintiff’s Amended Complaint, (ECF No. 44), cannot relate back
21   to the date that Plaintiff filed its initial Complaint. (Id. 7:11–23). As a result, they argue that
22   the statute of limitations for claims against them should begin on September 18, 2015, when
23   Plaintiff filed its Amended Complaint. (Id. 7:3–8, 7:11–23). The below sections address each
24   argument in turn.
25




                                                  Page 8 of 28
         Case 2:16-cv-02353-GMN-EJY Document 170 Filed 09/29/18 Page 9 of 28



1                        i. Statute of Limitations
2           New Choice, Lighthouse, and Ryan Roach argue in their Motion to Dismiss that a two-
3    year statute of limitations period applies to this case because Plaintiff’s Amended Complaint
4    fails to properly plead “willful” violations of the Fair Labor Standards Act, which, if properly
5    pleaded, would extend the limitations period from two to three years. (MTD 6:13–23, ECF No.
6    71). In response, Plaintiff argues that the allegations throughout its Amended Complaint satisfy
7    the pleading requirements because the applicable rules only require general allegations of
8    intent, which Plaintiff provided. (Resp. 6:2–20, ECF No. 81).
9           A violation of the FLSA is willful if the employer “knew or showed reckless disregard
10   for the truth of whether its conduct was prohibited by the FLSA.” Chao v. A-One Medical
11   Services, 346 F.3d 908, 918 (9th Cir. 2003). At the initial pleading stage, a plaintiff does not
12   need to allege willfulness with specificity. Rivera v. Peri & Sons Farms, Inc., 735 F.3d 892,
13   903 (9th Cir. 2013). Instead, general allegations of intent suffice under the Federal Rules of
14   Civil Procedure. See Fed. R. Civ. P. 9(b) (“Malice, intent, knowledge, and other conditions of a
15   person’s mind may be alleged generally.”).
16          Here, Plaintiff’s Amended Complaint satisfies the applicable pleading requirement to
17   allege willful violations. First, in compliance with the requirement of general allegations of
18   intent, Plaintiff alleges that “Defendants have repeatedly and willfully violated the provisions
19   . . . of the FLSA.” (Am. Compl. ¶¶ 32–37). Further, Plaintiff explains how New Choice,
20   Lighthouse, and Ryan Roach deprived, impeded, and interfered with the ability of their
21   employees to exercise their rights under the FLSA and the ability of the Secretary to detect and
22   identify FLSA violations. (See id. ¶¶ 34–35). For example, throughout Plaintiff’s Amended
23   Complaint are allegations that New Choice, Lighthouse, and Ryan Roach forced employees to
24   sign contracts that “waive[d] the . . . right to be paid at least the minimum wage under the
25   FLSA” with an alleged focus on deterring employee complaints to the government. (Id. ¶ 18).


                                                Page 9 of 28
         Case 2:16-cv-02353-GMN-EJY Document 170 Filed 09/29/18 Page 10 of 28



1           Together, these allegations demonstrate plausible violations of the FLSA, while also
2    satisfying the liberal pleading requirement for willfulness. See Iqbal, 556 U.S. at 678 (citing
3    Twombly, 550 U.S. at 555); Pellegrini v. Huyssen, Inc., No. 3-17-cv-00135-CAB-JMA, 2017
4    WL 2908794, at *9 (S.D. Cal. July 7, 2017) (finding that broad allegations of “knowingly,
5    willfully, and intentionally” violating the FLSA were enough to survive a motion to dismiss).
6    Accordingly, Plaintiff’s Amended Complaint properly pleads willful violations by New Choice,
7    Lighthouse, and Ryan Roach. The Motion to Dismiss, (ECF No. 71), is therefore denied to the
8    extent that it argues for a limitation of Plaintiff’s claims to two years.
9                        ii. Relation Back to the Date of Plaintiff’s Initial Complaint
10          In addition to the argument that Plaintiff failed to properly plead willful violations, New
11   Choice, Lighthouse, and Ryan Roach also contend that the applicable statute of limitations for
12   Plaintiff’s claims should begin when Plaintiff added them to the case in the Amended
13   Complaint, (ECF No. 44), rather than relating back to the date of Plaintiff’s initial Complaint,
14   (ECF No. 1). (MTD 8:13–25, ECF No. 71). Conversely, Plaintiff argues that its claims within
15   the Amended Complaint warrant “relation back” to the time of the initial Complaint under Rule
16   15(c) for several reasons. (Resp. 9:1–10:6, ECF No. 81). First, New Choice, Lighthouse, and
17   Ryan Roach allegedly had both notice of the initial Complaint when it was filed and notice at
18   that same time of Plaintiff’s investigation into FLSA violations that would implicate them.
19   (Resp. 9:1–10:6, ECF No. 81). Second, Plaintiff asserts that Wellfleet and Allen Roach
20   intentionally withheld information from Plaintiff about the existence of New Choice,
21   Lighthouse, and Ryan Roach until after Plaintiff filed the initial Complaint; thereby preventing
22   Plaintiff from timely adding all Defendants. (Id.).
23          Rule 15(c) of the Federal Rules of Civil Procedure governs whether an amendment to a
24   pleading relates back to the date of the original pleading. See Fed. R. Civ. P. 15(c). When an
25   amendment concerns the addition of a new defendant, Rule 15(c)(1)(C) permits the action if:


                                                 Page 10 of 28
         Case 2:16-cv-02353-GMN-EJY Document 170 Filed 09/29/18 Page 11 of 28



1    (1) the claim arose out of the same conduct, transaction, or occurrence set out in the original
2    pleading, (2) the new defendant received “such notice of the action that it will not be prejudiced
3    in defending on the merits,” and (3) the new defendant “knew or should have known that the
4    action would have been brought against it, but for a mistake concerning the proper party’s
5    identity.” Fed. R. Civ. P. 15(c)(1)(C).
6           The issue here depends on the third prong of the Rule 15 analysis; and the focus is
7    whether New Choice, Lighthouse, and Ryan Roach knew or should have known that Plaintiff
8    mistakenly left them out of its initial Complaint—as opposed to deliberately leaving them out.
9    Krupski v. Costa Crociere S. p. A., 560 U.S. 538, 541 (2010). Therefore, if New Choice,
10   Lighthouse, and Ryan Roach knew or should have known that Plaintiff would have added them
11   to the initial Complaint but for a “mistake regarding [their] ‘status or role in the events giving
12   rise to the claim at issue,” then all claims against them will relate back to the date of the initial
13   Complaint. See In re LLS Am. LLC, 701 F. App’x 565, 567 (9th Cir. 2017) (citing Krupski, 560
14   U.S. at 549).
15          Here, Plaintiff’s Amended Complaint pleaded sufficient facts to show that New Choice,
16   Lighthouse, and Ryan Roach either knew or should have known that Plaintiff would have
17   included them in the initial Complaint but for a mistake by Plaintiff. Plaintiff’s Amended
18   Complaint includes an explanation that Ryan Roach, and thus New Choice and Lighthouse, had
19   full “notice of [Plaintiff’s] investigation” into Wellfleet and its employment practices. (Am.
20   Compl. ¶ 6). Ryan Roach, New Choice, and Lighthouse nonetheless appear to have initially
21   concealed any relationship between Wellfleet and Allen Roach—even though Wellfleet
22   “employed Lighthouse’s and New Choice’s call center employees during [Plaintiff’s]
23   investigation.” (Id. ¶ 15). Further, according to Plaintiff, it was not until February 1, 2017, that
24   Wellfleet and Allen Roach disclosed the relationship between New Choice, Lighthouse, and
25   Ryan Roach, as well as a takeover of Wellfleet by New Choice and Ryan Roach that occurred


                                                 Page 11 of 28
         Case 2:16-cv-02353-GMN-EJY Document 170 Filed 09/29/18 Page 12 of 28



1    several months before Plaintiff filed its initial Complaint. (See id. ¶ 8) (showing that
2    Defendants did not disclose New Choice’s takeover until February 1, 2017, whereas Plaintiff
3    filed its initial Complaint on October 7, 2016). These allegations within Plaintiff’s Amended
4    Complaint demonstrate how it would have appeared to Plaintiff when it filed the initial
5    Complaint that Wellfleet, New Choice, and Lighthouse may have been one business. (See id.
6    ¶¶ 5–7) (stating that New Choice operated “at the same call center where Wellfleet operated,”
7    and that the managers and employees of Wellfleet would have been nearly the same as those of
8    New Choice).
9           Therefore, the Amended Complaint provides allegations that New Choice, Lighthouse,
10   and Ryan Roach not only knew of Plaintiff’s investigation, but also withheld their involvement
11   in Wellfleet’s employment practices to avoid being a target of Plaintiff’s investigation and
12   ultimate lawsuit. Thus, when Plaintiff filed its initial Complaint, Defendants should have
13   known that Plaintiff mistakenly sued Wellfleet and Allen Roach in the initial Complaint
14   without knowledge of New Choice, Lighthouse, and Ryan Roach’s separate and pivotal role in
15   Wellfleet’s business and employment practices. Accordingly, because Defendants should have
16   known of Plaintiff’s mistake, the claims against New Choice, Lighthouse, and Ryan Roach
17   relate back to the date of the initial Complaint under Federal Rule of Civil Procedure 15(c). See
18   In re LLS Am. LLC, 701 F. App’x at 567.
19             B. Motions for Summary Judgment filed by Defendants
20          Turning now to the motions for summary judgment, the first issue is whether
21   Defendants’ call center workers are “employees” under the FLSA. (See MSJ 6:27–11:27, ECF
22   No. 64); (MSJ 17:20–20:9 , ECF No. 150). If the workers were employees, the next issue is
23   whether Defendants willfully violated the FLSA by misclassifying their workers and failing to
24   conform to the FLSA’s regulations. (MSJ 14:15–18, ECF No. 64); (MSJ 26:, ECF No. 150).
25   The third issue concerns whether the statute of limitations for Plaintiff’s claims should be


                                                Page 12 of 28
         Case 2:16-cv-02353-GMN-EJY Document 170 Filed 09/29/18 Page 13 of 28



1    extended under the doctrine of equitable tolling to include claims arising on and after August
2    2009. (MSJ 24:14–26:22, ECF No. 150). The last issue concerns the extent of damages owed
3    by Defendants, if any. (Id. 22:16–28:24:10); (MSJ 19:8–23, ECF No. 148).1 The below
4    discussion addresses each issue in turn.
5                           i. Classification of Employees under the FLSA
6           Defendants collectively argue that their call center workers were not “employees” for
7    purposes of the FLSA, and thus were not entitled to the protections of the FLSA. (MSJ 11:23–
8    28, ECF No. 64); (MSJ 29:1–6, ECF No. 148); (MSJ 6:5–10, ECF No. 149). Specifically,
9    Defendants allege that their call center workers were “direct sellers” as defined in the Internal
10   Revenue Code (“IRC”), 26 U.S.C. § 3508, which then creates an exception to the FLSA’s
11   definition of “employee.” (MSJ 11:23–28, ECF No. 64); (MSJ 29:1–6, ECF No. 148); (MSJ
12   6:5–10, ECF No. 149). Plaintiff argues that Defendants did not prove their workers were
13   “direct sellers” under the IRC; and even if they were, the IRC does not supersede or modify the
14   FLSA’s definition of “employee.” (Resp. 15:1–16, 15:22, ECF No. 159). Plaintiff further
15   argues that summary judgment should be granted in their favor because Defendants’ call center
16   workers are in fact “employees” under the FLSA. (MSJ 19:8–20:9, ECF No. 150).
17          The FLSA defines an “employee” broadly: as “any individual employed by an
18   employer;” and it defines “employ” as “to suffer or permit to work.” 29 U.S.C. § 203(e)(1), (g).
19   Courts apply that broad definition to specific cases by using an “economic realities test” to
20   determine whether someone falls under the FLSA’s definition of an “employee.” Benjamin v. B
21   & H Educ., Inc., 877 F.3d 1139, 1145 (9th Cir. 2017).
22

23
     1
       New Choice, Lighthouse, and Ryan Roach make nearly the same arguments as Wellfleet and Allen Roach on
24   the same issues in their separate Motion for Summary Judgment, (ECF No. 149). Further, New Choice,
     Lighthouse, and Ryan Roach “join and incorporate” the arguments raised by Wellfleet and Allen Roach. (See
25   MSJ 3:5–8, 6:8–15, ECF No. 149). Because of the overlap in Motions, the Court will address each of
     Defendants’ arguments together insofar as they join and incorporate each other. The Court’s discussion will
     separately address any arguments that are unique to a motion.

                                                    Page 13 of 28
           Case 2:16-cv-02353-GMN-EJY Document 170 Filed 09/29/18 Page 14 of 28



1              Besides the economic realities test, rarely has the FLSA’s definition of “employee” been
2    modified by anything other than the FLSA itself. See Walling v. Portland Terminal Co., 330
3    U.S. 148, 150–51 (1947) (“[I]n determining who are ‘employees’ under the, common law
4    employee categories or employer-employee classifications under other statutes are not of
5    controlling significance.”). The rationale for a limited ability to modify the FLSA is that the
6    FLSA “contains its own definitions, comprehensive enough to require its application to many
7    persons and working relationships.” Id.
8              With this history concerning the FLSA’s definition of “employee,” the few courts that
9    have addressed the IRC’s interaction with the FLSA have found that § 3508 does not supersede
10   or modify the FLSA’s “employee” definition. For example, in Esquivel v. Hillcoat Props., 484
11   F. Supp. 2d 582, 584 (W.D. Tex. 2007), defendants argued that because their employees fell
12   within a category of “statutory non-employees” under § 3508 of the IRC, it must follow that
13   those employees would be “independent contractors and outside the protections of the FLSA.”
14   Id. at 584. The court denied that argument, however, on the ground that § 3508, by its terms,
15   applies only to Title 26 of the IRC.2 Id. Consequently, whether the workers fell under the
16   FLSA depended on the economic realities test. Id.
17             The decision in Esquivel is not alone. Other courts agree that the IRC generally does not
18   modify provisions of the FLSA. See Serino v. Payday Cal., Inc., No. 08-56940, 2010 WL
19   1678302, at *1 (9th Cir. Apr. 27, 2010) (unpublished) (“The plaintiffs cite to the Internal
20   Revenue Code, the Code of Federal Regulations, and court opinions interpreting these
21   provisions; however, these sources do not bear on the definition of “employer” under either the
22

23   2
         The exact language of § 3508 states:

24             For purposes of this title, in the case of services performed as a qualified real estate agent or as a
               direct seller-- (1) the individual performing such services shall not be treated as an employee,
25             and (2) the person for whom such services are performed shall not be treated as an employer.

     26 U.S.C. § 3508.

                                                          Page 14 of 28
         Case 2:16-cv-02353-GMN-EJY Document 170 Filed 09/29/18 Page 15 of 28



1    FLSA or California law.”); see also Heidingfelder v. Burk Brokerage, LLC, 2010 WL 4364599,
2    at *4 (E.D. La. Oct. 25, 2010) (relying on Esquivel to reject application of § 3508 to determine
3    employee status under the FLSA). Defendants’ cited authorities do not show otherwise. (See
4    MSJ 29:7–30:2, ECF No. 148) (citing decisions that discuss § 3508 in terms of IRC
5    applicability, but not its interaction with the FLSA); (MSJ 6:5–10, ECF No. 149) (stating that
6    New Choice, Lighthouse, and Ryan Roach “join and incorporate” Wellfleet and Allen Roach’s
7    argument).
8           Altogether, based on the FLSA’s history and court interpretations of it, the Court finds
9    that § 3508 of the IRC does not provide an exception to the FLSA’s definition of “employee.”
10   Because IRC § 3508 does not provide an exception, the next issue is whether Defendants’ call
11   center workers are “employees” under the FLSA.
12          There are six relevant factors that courts consider when determining if an individual is
13   an “employee” under the FLSA:
14
               1) The degree of the alleged employer’s right to control the manner in which
15             the work is to be performed; 2) the alleged employee’s opportunity for profit
               or loss depending upon his managerial skill; 3) the alleged employee’s
16             investment in equipment or materials required for his task, or his employment
               of helpers; 4) whether the service rendered requires a special skill; 5) the
17
               degree of permanence of the working relationship; 6) whether the service
18             rendered is an integral part of the alleged employer’s business.

19   Donovan v. Sureway Cleaners, 656 F.2d 1368, 1370 (9th Cir. 1981) (citation omitted). Neither
20   factor is dispositive; and the overall focus is to determine if the individuals are “dependent
21   upon the business to which they render service.” Id.
22          In this case, there is no dispute of material fact that Defendants’ call center workers are
23   “employees” under the FLSA. The first factor pushes toward an employee designation based
24   on the strict schedule and work content assigned to each call center worker—attributing little
25   discretion to the worker, if at all, on how to complete their tasks. Specifically, each worker had


                                                Page 15 of 28
         Case 2:16-cv-02353-GMN-EJY Document 170 Filed 09/29/18 Page 16 of 28



1    a daily shift that would extend five-days a week (and potentially Saturday). (Dep. Stephanie
2    Muasau at 29, Ex. 1 to MSJ, ECF No. 150-2) (showing “Monday through Friday 7:30 to 2:30”).
3    Similarly, each of those days involved a strict schedule with designated break and lunch times,
4    reduced pay for late arrival, and routine scripts to accomplish all sales. (Id. at 44); (Birch
5    Program Schedule, Ex. 11 to MSJ, ECF No. 150-12); (Direct Seller Agreement of Ballew,
6    Patricia at 5, Ex. 9. to MSJ, ECF No. 150-10). As for the next factor of opportunity for profit
7    with managerial skills, Defendants alone controlled a worker’s ability to earn a commission, the
8    scope of a worker’s interaction with a client, and how much an employee earned with each sale.
9    (See Contract between New Choice and Birch Communications at 9, Ex. 44 to MSJ, ECF No.
10   150-45); (Direct Seller Agreement of Legaspi, Reginald at 3, Ex. 16 to MSJ, ECF No. 150-17)
11   (stating that “the commission . . . shall be the sole and absolute compensation provided . . . .”).
12   Alongside this profit control, each call worker operated solely off Defendants’ equipment and
13   in Defendants’ office space. (Dep. Stephanie Muasau at 7, 55, Ex. 1 to MSJ, ECF No. 150-2);
14   (New Hire Packet at 6–7, Ex. 12 to MSJ, ECF No. 150-13). Next, for the fourth factor,
15   undisputed evidence in this case shows the call center works did not need to possess any
16   specialized skills; all that Defendants required was the ability to communicate well and read a
17   script. (Dep. Allen Roach at32–33, Ex. 2 to MSJ, ECF No. 150-3) (“[W]e didn’t have a high
18   bar for hiring people . . . we didn’t get their education . . . if they could read a script and they
19   sounded good, we . . . gave them an opportunity”). Lastly, the workers who operated the
20   phones at the call center and made all sales serve as an integral part of Defendants’ call center
21   businesses.
22          After analyzing these factors collectively, the Court concludes that Defendants’ call
23   center workers operated as “employees” under the FLSA. See Donovan, 656 F.2d at 1370. As
24   employees, they were thus entitled to the FLSA’s protections.
25




                                                 Page 16 of 28
         Case 2:16-cv-02353-GMN-EJY Document 170 Filed 09/29/18 Page 17 of 28



1                        ii. Willful Violations of the FLSA
2           In addition to Plaintiff’s argument that the call center workers are employees under the
3    FLSA, Plaintiff moves for summary judgment claiming Defendants’ willfully violated the
4    FLSA’s regulations thereby extending the statute of limitations in this case to three years. (MSJ
5    11:4–12:25, ECF No. 150). Defendants, in contrast, contend that they simply misclassified
6    their workers under the belief that the workers fell under an exception to the FLSA through
7    IRC § 3508. (MSJ 13:18–20, ECF No. 64); (MSJ 15:12–15, ECF No. 148). According to
8    Defendants, this simple misclassification was not a willful violation; and therefore, Plaintiff’s
9    lawsuit should be restricted to a two-year statute of limitations. (MSJ 20:26–27, ECF No. 64);
10   (MSJ 15:12–15, ECF No. 148); (MSJ 5:11–12, ECF No. 149).
11          “Willfulness” under the FLSA means that the defendant “knew or showed reckless
12   disregard for the matter of whether its conduct was prohibited by the [FLSA].” Chao v. A-One
13   Med. Servs., 346 F.3d 908, 918 (9th Cir. 2003) (citing McLaughlin v. Richland Shoe Co., 486
14   U.S. 128, 133, (1988). Further, “an employer’s conduct shall be deemed to be in reckless
15   disregard of the requirements of the [FLSA], among other situations, if the employer should
16   have inquired further into whether its conduct was in compliance with the [FLSA], and failed to
17   make adequate further inquiry.” 29 C.F.R. § 578.3.
18          Here, the Court finds that Plaintiff has established there is no genuine dispute of material
19   fact that Defendants “willfully” violated the FLSA. Specifically, Plaintiff provides evidence
20   that Wellfleet and Allen Roach received roughly ten to twelve notices of violations every year
21   from 2010 until 2017 by the Nevada State Labor Commissioner on paying minimum wage to
22   its call center workers. (See Dep. Allen Roach at 79–80, Ex. A to Resp., ECF No. 74-5). Yet,
23   even with these notices, Allen Roach stated that he did not talk to anyone before 2012 about
24   “the requirements for minimum wage under . . . the Fair Labor Standards Act”—believing
25   instead that if he were mistaken, state agencies would “come and see us and advise us.” (Id. at


                                                Page 17 of 28
         Case 2:16-cv-02353-GMN-EJY Document 170 Filed 09/29/18 Page 18 of 28



1    40, 44). Ryan Roach, and thereby Lighthouse and New Choice, also failed to take any
2    affirmative actions based on their past practices that matched those of Wellfleet’s. (Dep. Ryan
3    Roach at 58–60, Ex. 2 to Resp., ECF No. 159-5).
4           Defendants do provide declarations and contentions that they did not ignore warnings
5    that it was out of compliance and cooperated with Plaintiff’s investigation. (See Decl. Ryan
6    Roach 125:7–129:4, Ex. A to MSJ, ECF No. 149); (Decl. Gary Krape at 2, Ex. 1 to MSJ, ECF
7    No. 148-1). That support does not, however, counter the evidence by Plaintiff showing that
8    Wellfleet and Allen Roach received many complaints for regulatory violations yet failed to take
9    any action to determine compliance. Further, neither Allen Roach nor Ryan Roach ever
10   attempted to determine their call centers’ compliance with the FLSA—even though they had
11   their workers sign agreements that expressly waived any rights under the FLSA and classified
12   them as independent contractors. (Dep. Allen Roach at 21–28, Ex. 2 to MSJ, ECF No. 150-3);
13   (Dep. Ryan Roach at 48–51, Ex. 7, ECF No. 150-8).
14          Accordingly, Plaintiff’s evidence shows that Defendants failed to inquire into FLSA
15   compliance as it should have. See 29 C.F.R. § 578.3; Alvarez v. IBP, Inc., 339 F.3d 894, 908–
16   09 (9th Cir. 2003), aff’d, 546 U.S. 21 (2005) (“[T]he three-year term can apply where an
17   employer disregarded the very ‘possibility’ that it was violating the statute.”) (citations
18   omitted); see Flores v. Velocity Express, LLC, 250 F. Supp. 3d 468, 494 (N.D. Cal. 2017)
19   (finding that investigations by state labor agencies can put a defendant on notice to inquire into
20   its compliance with the FLSA). Plaintiff’s motion for summary judgment is therefore granted
21   on the issue of willful violations of the FLSA, and the statute of limitations began on October 7,
22   2013, which is three years before Plaintiff filed its initial Complaint.
23                      iii. Equitable Tolling
24          The next issue before the Court is whether Plaintiff can include claims that arose on and
25   after August 2009 under the doctrine of equitable tolling. Defendants argue that equitable


                                                 Page 18 of 28
         Case 2:16-cv-02353-GMN-EJY Document 170 Filed 09/29/18 Page 19 of 28



1    tolling should not apply because Plaintiff did not exercise diligence in bringing this case, and
2    because there were no extraordinary circumstances beyond Plaintiff’s control that prevented the
3    filing of an earlier lawsuit. (MSJ 15:19–20, 16:9–14, ECF No. 148); (MSJ 4:13–5:10, ECF No.
4    149). In contrast, Plaintiff contends that Defendants concealed any claims of Defendants’
5    workers by having them sign FLSA opt-out forms beginning in 2009, and also lied to state
6    officials about their compliance efforts for labor regulations. (MSJ 24:14–27, ECF No. 150).
7    Plaintiff thus seeks an extension of the statute of limitations on equitable tolling grounds that
8    would begin the limitations period on August 2009. (Id. 18:10–12).
9           “Equitable tolling applies when the plaintiff is prevented from asserting a claim by
10   wrongful conduct on the part of the defendant, or when extraordinary circumstances beyond the
11   plaintiff’s control ma[ke] it impossible to file a claim on time.” Stoll v. Runyon, 165 F.3d 1238,
12   1242 (9th Cir. 1999). The party seeking equitable tolling bears the burden of establishing either
13   circumstance. Kwai Fun Wong v. Beebe, 732 F.3d 1030, 1052 (9th Cir. 2013).
14          Here, in regard to the claims arising between 2009 and the applicable three-year statute
15   of limitations period beginning in 2013, Plaintiff fails to provide binding authority to persuade
16   the Court that equitable tolling is appropriate for this time period. Plaintiff’s focus in seeking
17   claims back to August 2009 is that this is when Defendants allegedly began their practice of
18   having employees sign agreements that purported to waive their right to minimum wage. (MSJ
19   25:10–18). In support, Plaintiff cites to Guifu Li v. A Perfect Franchise, Inc., No. 5:10-cv-
20   01189-LHK, 2011 WL 4635198 (N.D. Cal. Oct. 5, 2011), which found that equitable tolling
21   was appropriate in the context of waiver forms used on employees. However, Guifu Li only
22   applied equitable tolling when a defendant forced its current employees to sign class-action opt-
23   out forms after litigation began. See id. at *16. Unlike in Guifu Li, no evidence here shows that
24   Defendants knew of impending litigation and forced their workers to sign a waiver that
25   excluded them from such lawsuit.


                                                Page 19 of 28
         Case 2:16-cv-02353-GMN-EJY Document 170 Filed 09/29/18 Page 20 of 28



1           Further, equitable tolling only applies in “rare and exceptional circumstances.” Orduna
2    v. Champion Drywall, Inc., No. 2:12-cv-1144-LDG-VCF, 2013 WL 1249586, at *2 (D. Nev.
3    Mar. 26, 2013) (citing Teemac v. Henderson, 298 F.3d 452, 457 (5th Cir. 2002), and Steed v.
4    Head, 219 F.3d 1298, 1300 (11th Cir. 2000). Plaintiff therefore has not carried its burden to
5    justify equitable tolling based solely on the “independent contractor” agreements. See Stitt v.
6    San Francisco Mun. Transportation Agency, No. 12-cv-3704-YGR, 2014 WL 1760623, at *12
7    (N.D. Cal. May 2, 2014) (rejecting equitable tolling because “Plaintiffs have offered neither
8    evidence nor argument to show that there were circumstances beyond potential plaintiffs’
9    control that made it impossible for them to file FLSA claims in a timely manner.”).
10                        iv. Damages
11          Plaintiff moves for summary judgment as to damages in this case claiming Defendants
12   violated the FLSA by failing to keep hours of the call center workers and failing to pay
13   overtime or minimum wage. (MSJ 22:10–13, ECF No. 150). Plaintiff argues that because of
14   these violations, Defendants are liable for back wages and an equal amount of liquidated
15   damages. (Id.) The first issue to address, then, is Defendants’ alleged violations of the FLSA.
16          The FLSA requires that employers pay employees a minimum wage of at least $7.25
17   per hour during any work week. 29 U.S.C. § 206(a). An employer violates this section only
18   when an employee’s total weekly wage “averaged across their total time worked” falls below
19   the required minimum wage. Adair v. City of Kirkland, 185 F.3d 1055, 1063 (9th Cir. 1999);
20   Nye v. Ltd., No. 2-16-cv-00702-RFB-CWH, 2017 WL 1228408, at *2 (D. Nev. Apr. 2, 2017).
21   Additionally, every employer subject to the FLSA has a duty to keep and preserve records of
22   their employees in terms of wages and hours, among other requirements. 29 U.S.C. § 211; see
23   29 C.F.R. § 516.2.
24          Here, Defendants have admitted that they did not pay their call center workers minimum
25   wage and did not keep any records of hours worked by those call center employees until 2016.


                                               Page 20 of 28
         Case 2:16-cv-02353-GMN-EJY Document 170 Filed 09/29/18 Page 21 of 28



1    (Decl. Allen Roach ¶¶ 3,6). Accordingly, there is no dispute of material fact that Defendants
2    violated the FLSA. The below discussion addresses the extent to which Defendants may be
3    held liable.
4                                     1. Entitlement to Back Wages
5           An employee can recover unpaid wages under the FLSA by showing that: (1) the
6    employer’s records were inadequate; and (2) the employee performed work for which they
7    were not compensated. Brock v. Seto, 790 F.2d 1446, 1447-48 (9th Cir. 1986) (citation
8    omitted). When proving the amount of work performed, however, the burden is “not on the
9    employees to prove the precise extent of uncompensated work.” McLaughlin v. Seto, 850 F.2d
10   586, 589 (9th Cir. 1988). Rather, the employee need only produce sufficient evidence to show
11   the amount and extent of said work “as a matter of a just and reasonable inference.” Brock, 790
12   F.2d at 1447–48. After which, the burden shifts to the employer to come forward with
13   “evidence of the precise amount of work performed or evidence to negate the reasonableness of
14   the inference to be drawn from the employees’ evidence.” McLaughlin, 850 F.2d at 589.
15          Here, Plaintiff has satisfied its initial burden to provide a reasonable inference of the
16   hours worked by Defendants’ call center workers. Plaintiff calculates that each worker worked
17   at least thirty hours per week, and evidence by Defendants shows that this is a valid inference.
18   (Decl. Michael Eastwood ¶¶ 4–28, ECF No. 150-71). Defendants do not dispute this
19   calculation in their Responses. (See ECF Nos. 158, 160). The problem with Plaintiff’s
20   calculation, however, is that it provides a total amount of back wages dating back to August 30,
21   2009. (MSJ 23:17–23, ECF No. 150). As the Court has found that equitable tolling beyond
22   2013 is improper, the amount of wages must be recalculated to reflect the wages lost between
23   2013 and 2016. Accordingly, Plaintiff must provide a sufficient calculation of damages within
24   the statute of limitations applicable to this case.
25




                                                 Page 21 of 28
         Case 2:16-cv-02353-GMN-EJY Document 170 Filed 09/29/18 Page 22 of 28



1                                    2. Entitlement to Liquidated Damages
2           Similar to Defendants’ argument that they did not willfully violate the FLSA,
3    Defendants assert that there is no dispute of material fact that they acted in good faith to
4    comply with the FLSA, thereby preventing Plaintiff from recovering liquidated damages. (MSJ
5    6:11–15, ECF No. 149); (MSJ 19:8–10, ECF No. 148). However, a lack of good faith is
6    correlated to the Court’s finding of willfulness. That is, one part of the test to determine
7    whether a defendant made a good faith attempt to comply with the FLSA is if the defendant can
8    show it had “an honest intention to ascertain what [the FLSA] requires and to act in accordance
9    with it.” Bratt v. Cty. of Los Angeles, 912 F.2d 1066, 1072 (9th Cir. 1990) (citations omitted).
10   As stated previously, Plaintiff provides evidence that Defendants failed to take any action at all
11   to determine their compliance with the FLSA even after repeated notices of violations under
12   state employment regulations. Though the Court recognizes that Defendants passed an audit by
13   a Nevada state agency regarding its classification of employees, that audit related only to
14   Nevada’s employment laws. The audit did not, however, provide reason for Defendants to
15   believe they complied with the FLSA. (See Dep. Higinio Ramos at 28, Ex. 4 to MSJ, ECF No.
16   148-7) (stating that the audit notes reflect a finding “under state law”).
17          Accordingly, because Defendants failed to take any action to determine their FLSA
18   compliance in the face of repeated notices of potential violations of employment regulations,
19   the Court finds that there is a no dispute of material fact that Defendants did not act in good
20   faith to conform with the FLSA. Plaintiff’s Motion for Summary Judgment is thus granted to
21   the extent that Defendants are liable for liquidated damages, which would be equal to the
22   amount of back wages in this case. 29 U.S.C. § 216(b) (“Any employer who violates the
23   provisions of section 206 . . . shall be liable to the employee or employees affected in the
24   amount of their unpaid minimum wages, or their unpaid overtime compensation, as the case
25   may be, and in an additional equal amount as liquidated damages.”).


                                                Page 22 of 28
         Case 2:16-cv-02353-GMN-EJY Document 170 Filed 09/29/18 Page 23 of 28



1                                    3. Individual Liability
2           Alongside the determination of damages, Plaintiff moves for summary judgment
3    claiming that Allen Roach and Ryan Roach are individually liable for any damages. (MSJ
4    20:11–23, ECF No. 150). To determine whether an individual is an employer under the FLSA,
5    and thus subject to individual liability, the Ninth Circuit applies a four-factor “economic
6    reality” test that considers: “[w]hether the alleged employer (1) had the power to hire and fire
7    the employees, (2) supervised and controlled employee work schedules or conditions of
8    employment, (3) determined the rate and method of payment, and (4) maintained employment
9    records.” Lambert v. Ackerley, 180 F.3d 997, 1011-12 (9th Cir. 1999). These factors are a
10   useful framework, but the ultimate determination must be based “upon the circumstances of the
11   whole activity.” Bonnette v. Cal. Health & Welfare Agency, 704 F.2d 1465, 1470 (9th Cir.
12   1983) (quoting Rutherford Food Corp. v. McComb, 331 U.S. 722, 730 (1947)).
13          Here, the totality of the circumstances leads the Court to conclude that Allen Roach and
14   Ryan Roach are individually liable under the FLSA. First, Allen Roach was in control of
15   managing the work force in terms of reducing staff and disciplining employees, while Ryan
16   Roach would participate at times. (Dep. Mij Courtney at 26, Ex. 3 to MSJ, ECF No. 150-4)
17   (discussing hiring); (Dep. Stephanie Muasau at 8, 26 Ex. 1 to MSJ, ECF No. 150-2) (discussing
18   discipline); (Dep. Allen Roach at 42, Ex. 2 to MSJ, ECF No. 150-3) (discussing Ryan Roach’s
19   involvement). Next, Allen Roach and Ryan Roach managed each payment made to the
20   workers. That is, they regulated both the commissions available to call center workers within
21   the contracts between the call center clients and Defendants; and they also reviewed the weekly
22   payroll for workers. (Dep. Ryan Roach at 13–15, 17, 22 Ex. 7 to MSJ, ECF No. 150-8) (stating
23   a weekly review of payroll); (Email from Tamara Harris to Allen Roach, Ex. 26 to MSJ, ECF
24   No. 150-27); (Emails between Tamara Harris and Ryan Roach, Ex. 27 to MSJ, ECF No. 150-
25   28); (Dep. Tamara Harris at 5–7, 8, 10–12, Ex. 5 to MSJ, ECF No. 150-6). Additionally, Allen


                                               Page 23 of 28
         Case 2:16-cv-02353-GMN-EJY Document 170 Filed 09/29/18 Page 24 of 28



1    Roach and Ryan Roach discussed their detailed control over the call centers in emails. (Email
2    Exchange between Allen and Ryan at 2–3, Ex. 38 to MSJ, ECF No. 150-39) (discussing the
3    actions of “running a [sic] 100 plus animals around each week” in terms of involvement in
4    checking bank accounts.).
5           Overall, the evidence shows that Ryan Roach and Allen Roach closely oversaw the call
6    centers in terms of wages, discipline, hiring and firing, and daily tasks associated with
7    managing and operating the call center businesses. Though they were not directly responsible
8    for day-to-day activities, that does not take away from the constant control that they had. Chao
9    v. Pac. Stucco, Inc., No. 2:04-cv-0891-RCJ-GWF, 2006 WL 2432862, at *5 (D. Nev. Aug. 21,
10   2006). Accordingly, Ryan Roach and Allen Roach are individually liable.
11                                   4. Successor in Interest Liability
12          The next issue before the Court concerns the extent to which Wellfleet’s alleged liability
13   for violating the FLSA may attach to New Choice. That is, Plaintiff alleges in its Amended
14   Complaint that New Choice is the “successor-in-interest” to Wellfleet. (Am. Compl. ¶ 10, ECF
15   No. 44). As a successor in interest, Plaintiff contends that New Choice is therefore “jointly and
16   severally liable for all FLSA violations” by Wellfleet. (Resp. 25:1–4, ECF No. 159).
17   Conversely, New Choice seeks summary judgment on this issue, claiming that successorship
18   liability cannot attach to New Choice based on the degree of continuity between itself and
19   Wellfleet as well as New Choice’s lack of notice that it could inherit liability when it purchased
20   Wellfleet’s assets in April 2016. (MSJ 5:15–6:2, ECF No. 149).
21          In the context of the FLSA, successor liability depends on three factors: (1) whether the
22   subsequent employer was a bona fide successor; (2) whether the subsequent employer had
23   notice of the potential liability; (3) the extent to which the subsequent employer can provide
24   adequate relief directly. Steinbach v. Hubbard, 51 F.3d 843, 846 (9th Cir. 1995); Nissenbaum v.
25   NNH Cal Neva Servs. Co., LLC, 983 F. Supp. 2d 1234, 1243 (D. Nev. 2013). The first factor


                                                Page 24 of 28
         Case 2:16-cv-02353-GMN-EJY Document 170 Filed 09/29/18 Page 25 of 28



1    breaks down further into several non-exhaustive factors: (1) the degree of substantial continuity
2    of the same business operations; (2) whether the new employer uses the same plant; whether
3    the same or substantially the same work force is employed; (3) whether the same jobs exist
4    under the same working conditions; (4) whether the same supervisors are employed; (5)
5    whether the same machinery, equipment, and methods of production are used; and (6) whether
6    the same product is manufactured or the same service is offered. Resilient Floor Covering
7    Pension Tr. Fund Bd. of Trustees v. Michael's Floor Covering, Inc., 801 F.3d 1079, 1091 (9th
8    Cir. 2015). Courts evaluate those non-exhaustive factors based on the “totality of the
9    circumstances” to determine whether there is a “substantial continuity” between the old and
10   new business. Id.
11          Looking to the first factor, New Choice provides evidence against “substantial
12   continuity” by showing that only some of its employees and managers moved to New Choice
13   after it purchased Wellfleet in 2016. (Dep. Ryan Roach at 18, Ex. A to MSJ, ECF No. 149).
14   Nonetheless, Plaintiff provides evidence to contradict that fact. Specifically, Plaintiff’s
15   Response includes evidence that almost all of New Choice’s personnel were the same as
16   Wellfleet after the apparent sale in 2016. (See WFC Staff Payroll, Ex. 12 to MSJ, ECF No. 159-
17   15); (see also NCC Staff Payroll, Ex. 13 to MSJ, ECF No. 159-16); (see also Decl. Alisa Ann ¶
18   14, ECF No. 159-2) (showing that “nearly 80% of the individuals on the last week of Wellfleet
19   payroll were on the New Choice payroll the following week”). Additionally, Plaintiff provides
20   evidence to show that New Choice continued to operate in the same building as Wellfleet and
21   appears to have sold the same telecommunications products as Wellfleet. (Dep. Ryan Roach at
22   69–70, Ex. 2 to Resp., 159-5); (Dep. Allen Roach at 95, Ex. 2 to MSJ, ECF No. 150-3).
23          Further, Plaintiff provides evidence to show that the second and third factors weigh in
24   favor of finding successor liability. Regarding the second factor of notice of potential liability,
25   Plaintiff demonstrates that Allen Roach and Ryan Roach were aware that Wellfleet would need


                                                Page 25 of 28
         Case 2:16-cv-02353-GMN-EJY Document 170 Filed 09/29/18 Page 26 of 28



1    to pay back wages prior to New Choice’s purchase. (Dep. Ryan Roach at 66, Ex. 2 to Resp.,
2    ECF No. 159-5) (stating that Ryan Roach was “aware” in “early 2016” of the Department of
3    Labor’s investigation of Wellfleet and that back wages had been computed). As for the third
4    factor, Wellfleet appears to have transferred all cash and assets to New Choice. (See Dep. Allen
5    Roach at 91, Ex. 2 to MSJ, ECF No. 150-3) (showing Allen Roach discussing the transfer of
6    assets and all funds from Wellfleet to New Choice). Such an extensive transfer raises a dispute
7    of Wellfleet’s ability to satisfy its prior expectation to cover back wages. Altogether, Plaintiff
8    provided enough evidence to show that New Choice is subject to successor in interest liability.
9                                     5. Prospective Injunction
10          Finally, Plaintiff requests a prospective injunction based on Defendants’ consistent past
11   violations, continued attempts to obstruct Plaintiff’s investigation, and active efforts to conceal
12   the extent of their businesses to avoid liability. (MSJ 29:5–20, ECF No. 150). Defendants
13   counter by arguing that they have been compliant with the FLSA beginning in February 2016.
14   (Resp. 8:8–15, ECF No. 160). Through this compliance, Defendants argue that there is “no
15   basis for a prospective injunction.” (Id.).
16          In this case, Defendants’ argument against the injunction focuses on alleged current
17   FLSA compliance, which is only one aspect of the Court’s analysis. Moreover, a court’s focus
18   is on the “reasonable likelihood that the [previous FLSA] violations will not recur”; and it is
19   not reliant on present compliance alone. Brock v. Big Bear Mkt. No. 3, 825 F.2d 1381, 1383
20   (9th Cir. 1987). Additionally, “an employer’s pattern of repetitive violations or a finding of
21   bad faith are factors weighing heavily in favor of granting a prospective injunction.” Id.
22          Here, Defendants engaged in not only willful violations as explained in this order, but
23   also actions to thwart Plaintiff’s investigation. Specifically, Plaintiff contends that Defendants
24   obstructed Plaintiff’s investigation by concealing employment records, destroying evidence,
25   and hiding the connection between Wellfleet, New Choice, and Lighthouse until months into


                                                   Page 26 of 28
           Case 2:16-cv-02353-GMN-EJY Document 170 Filed 09/29/18 Page 27 of 28



1    Plaintiff’s investigation. (MSJ 26:8–22, ECF No. 150). Plaintiff also provides evidence that
2    Defendants “purged” documents related to payroll records that Defendants previously withheld
3    from Plaintiff. (Dep. Dawn Piazza at 19–20, Ex. 4 to Resp., ECF No. 159-7). Similarly,
4    Plaintiff provides evidence that Defendants are continuing to withhold paychecks from
5    employees after Defendants claimed compliance with the FLSA. (See Nevada Labor
6    Commission Compl. at 2–4, Ex. 66 to MSJ, ECF No. 150-67) (showing a prior employee’s
7    complaint received on September 7, 2016, concerning a failure to provide a check and rejection
8    of calls). Accordingly, the Court finds that a prospective injunction is appropriate under these
9    circumstances.
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1    IV.     CONCLUSION
2            IT IS HEREBY ORDERED that the Motion for Summary Judgment, (ECF No. 150),
3    filed by Plaintiff is GRANTED in part and DENIED in part.
4            IT IS FURTHER ORDERED that the Motion to Dismiss or Alternatively for
5    Summary Judgment, (ECF No. 64), filed by Wellfleet and Allen Roach is DENIED.
6            IT IS FURTHER ORDERED that the Motion to Dismiss, (ECF No. 71), filed by New
7    Choice, Lighthouse, and Ryan Roach is DENIED.
8            IT IS FURTHER ORDERED that the Motion for Summary Judgment, (ECF No. 148),
9    filed by Wellfleet and Allen Roach is DENIED.
10           IT IS FURTHER ORDERED that the Motion for Summary Judgment, (ECF No. 149),
11   filed by New Choice, Lighthouse, and Ryan Roach is DENIED.
12           IT IS FURTHER ORDERED that Plaintiff shall file a supplemental brief with a
13   calculation of damages consistent with this Order as well as a proposed prospective injunction
14   using specific and enforceable terms. Plaintiff’s supplemental brief is due no later than October
15   15, 2018.
16                       29 day of September, 2018.
             DATED this _____
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                                                  Gloria M. Navarro, Chief Judge
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                                                  United States District Judge
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